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 5     Attorney for Plaintiff Richard Mecall, DDS
 6                               UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF NEVADA
 8   RICHARD MECALL, DDS                        ) CASE NO.:
                                                )
 9                 Plaintiff,                   )
                                                )
10   CANADA LIFE ASSURANCE                      ) COMPLAINT
     COMPANY OF AMERICA; DOES I                 )
11   through V inclusive; and ROES I through V, )
     inclusive,                                 )
12                                              )
                                                )
13                 Defendant.                   )
                                                )
14
15          Plaintiff RICHARD MECALL, DDS, by and through his attorney, JULIE A. MERSCH,
16   ESQ., complains and alleges as follows:
17                                                PARTIES
18          1. There is complete diversity between plaintiff and defendants and this court has
19   jurisdiction pursuant to 28 U.S.C. § 1332.
20          2. At all times relevant, Plaintiff, RICHARD MECALL, DDS (hereafter “MECALL”),
21   was and is a resident of Clark County, Nevada.
22          3. At all times relevant, Defendant CANADA LIFE ASSURANCE COMPANY OF
23   AMERICA (hereinafter “CANADA LIFE”) is and was an American corporation, with its
24   principal place of business in Colorado, and which intentionally availed itself of and subjected
25   itself to all laws and remedies available under Nevada law. CANADA LIFE is the successor by
26   merger of Crown Life Insurance Company.
27          4. At all times relevant herein, CANADA LIFE underwrote and performed claim
28   handling functions relating to the disability policies at issue herein, including the ultimate
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 1   decision to terminate payment of MECALL’s disability benefits.
 2          5. That the true names and capacities, whether individual, corporate, associate, or
 3   otherwise, of the Defendants named herein as DOES I through V and ROE CORPORATIONS
 4   I through V inclusive, are unknown to Plaintiff at this time and Plaintiff, therefore, sues said
 5   Defendants by such fictitious names. Plaintiff is informed and believes and therefore alleges,
 6   that each of the Defendants designated as DOES and ROE CORPORATIONS or any other
 7   entity, are responsible in some manner or involved in the handling of the subject claim
 8   including but not limited to the investigation, determination and/or resolution of the subject
 9   claim and caused damages proximately to Plaintiff as herein alleged, and Plaintiff will ask
10   leave of this court to amend his Complaint to insert the true names and capacities of said
11   DOES and ROES when the same become ascertained, and join said Defendants in this action.
12                                    GENERAL ALLEGATIONS
13                                      The Insurance Contracts
14          6. On or about May 20, 1981, MECALL applied for a disability insurance policy to
15   Crown Life. As a consequence of this application, on or about October 8, 1981, Crown Life
16   issued policy no. CR3500964 to MECALL. On or about September 30, 1983, MECALL
17   applied for an increase in his coverage amount under policy no. CR3500964. On or about
18   January 11, 1984, Crown Life approved the increase in coverage (hereafter “subject policy 1").
19          7. On or about April 3, 1991, MECALL applied for another disability insurance policy
20   to Crown Life. As a consequence of this application, on or about August 29, 1991, Crown Life
21   issued policy no. CR3505706 to MECALL (“subject policy 2").
22          8. At all times relevant, MECALL timely paid his insurance premiums under the
23   subject policies.
24          9. In exchange for his payment of premiums under subject policy 1, CANADA LIFE
25   promised to pay MECALL a monthly benefit in the amount of $5,650.00 if he became disabled
26   from performing his regular occupation.
27          10. In exchange for his payment of premiums under subject policy 2, CANADA LIFE
28   promised to pay MECALL a monthly benefit in the amount of $2,000.00 if he became disabled


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 1   from performing his own occupation.
 2          11. Under subject policy 1, “Total Disability” means, in pertinent part:
 3          [T]hat you are unable, due to Injury or Sickness, to engage in the material and
            substantial duties of Your regular occupation. . .
 4
            12. Under subject policy 1, “Injury” means:
 5
            [A]ccidental bodily injury which occurs while this policy is in force and which
 6          causes disability or loss while this policy is in force.
 7          13. Under subject policy 1, “Sickness” means:
 8          [S]ickness or disease which first manifests itself while this policy is in force and
            which causes disability or loss while this policy is in force.
 9
            14. Under subject policy 2, “Total Disability” means, in pertinent part:
10
            T]hat you are unable, due to Injury or Sickness, to engage in your regular
11          occupation. . .
12          15. Under subject policy 2, “Injury” means:
13          [A]ccidental bodily injury which occurs while this policy is in force and which
            causes disability or loss while this policy is in force.
14
            16. Under subject policy 2, “Sickness” means:
15
            [S]ickness or disease which first manifests itself while this policy is in force and
16          which causes disability or loss while this policy is in force.
17          17. MECALL’s occupation at the time of his disability was periodontist.
18          18. Under subject policy 1, the “maximum benefit period” for which disability benefits
19   as a result of “Sickness” were payable was October 8, 2015. Under subject policy 2, the
20   “maximum benefit period” for which disability benefits as a result of “Sickness” were payable
21   was August 8, 2015.
22          19. Under subject policies 1 and 2, the “maximum benefit period” for which disability
23   benefits as a result of “Injury” are payable is the lifetime of MECALL.
24
          MECALL’s PERTINENT MEDCAL HISTORY LEADING TO DISABILITY
25                   CLAIMS UNDER THE SUBJECT POLICIES
26   A. Left Hip Condition
27          20. Due to avascular necrosis of MECALL’s left hip, he underwent a left hip
28   replacement surgery with a Depuy medical implant on May 31, 2006. Consequently, MECALL


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 1   was temporarily unable to work full-time for time periods beginning in March 2006 through
 2   March 2007. MECALL made a claim for benefits under the subject policies, which CANADA
 3   LIFE paid.
 4          21. Despite his hip replacement surgery with the ASR Hip Replacement System
 5   (”ASR/XL hip device”) in May, 2006, MECALL’s left hip condition progressively worsened,
 6   to the point that he could no longer perform his regular occupation on a full-time basis
 7   beginning on or about January, 2009. MECALL submitted a claim for benefits under subject
 8   policy 2 as a result of his worsening hip condition. CANADA LIFE approved and paid this
 9   claim under the total disability and additional income benefit coverages of subject policy 2 due
10   to, inter alia, its determination that MECALL suffered from osteonecrosis of the left hip.
11          22. The hip symptoms that prevented MECALL from performing his regular
12   occupation on a full-time basis as of January, 2009 included, inter alia, trochanter bursitis,
13   lliopsoas impingement, lliopsoas tendonitis, groin pain, clicking of the left hip, peripheral
14   neuropathy, capsular impingement, metal sensitivity, crepitus, pain with external rotation, pain
15   with abduction, pain with flexion, abnormal heel strike, abnormal toe off, positive straight leg
16   raise, and abnormal heel walk (hereafter “hip symptoms post-implant”).
17          23. On December 2, 2010, MECALL submitted to surgery to remove the ASR/XL hip
18   device. By that date, the FDA had recalled the device from commerce (on August 26, 2010)
19   due to, inter alia, toxic levels of metal released into the human body causing tissue damage
20   leading to acute and chronic pain and other medical conditions.
21          24. On December 1, 2010, blood results revealed that MECALL had toxic levels of
22   both Cobalt and Chromium, leading to toxic neuropathy, as well as findings intra-operatively
23   of necrosis, fibrosis, metal pigmentation, histocytic infiltration, metal debris, osteolysis,
24   synovitis, and metal hypersensitivity.
25   B. Lumbosacral Disease of the Low Back
26          25. In approximately 1990, MECALL was diagnosed with lumbosacral disease of the
27   lower back, confirmed on MRI in March 2006. MECALL received a special exception for his
28   pre-existing back condition upon the issuance of subject policy 2 in August 1991.


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 1           26. From 1991- November 2009, MECALL’s back condition was asymptomatic: he
 2   never required spinal surgery; it did not cause pain; did not prevent him from performing his
 3   regular occupation; did not limit his range of motion; did not prevent him from bending,
 4   rotating, standing, or sitting; never caused bowel or bladder incontinence; did not require
 5   medical care or the use of over-the-counter or prescription medications; and never limited his
 6   ability to participate in recreational activities or perform the activities of daily living.
 7           27. On or about August 31, 2010, MECALL was unable to work at all and presented a
 8   claim for total disability benefits under subject policy 1. CANADA LIFE accepted the claim
 9   and paid the claim through October 8, 2015. Upon information and belief, CANADA LIFE
10   determined that MECALL was disabled due to Lumbar Stenosis.
11
     C. Injury to Lower Back on December 1, 2009 (Aggravation of Pre-Existing,
12   Asymptomatic Lumbosacral Disease)
13           28. As a result of the hip symptoms post-implant (resulting from the ASR/XL defective
14   hip device), MECALL sustained injury while dismounting a stationary bicycle on or about
15   December 1, 2009 (hereafter “bike injury”). Specifically, as MECALL placed all of his weight
16   on his left leg to exit the stationary bike, he felt sharp pain in his left hip which caused him to
17   fall backwards, hard and awkwardly, twisting his back as he landed on the bicycle resulting in
18   immediate pain. As a result of the bike injury, and in addition to the acute pain, MECALL was
19   unable to stand for long periods of time, bend, or rotate his spine.
20           29. As a result of the bike injury, and after no relief of his symptoms, MECALL
21   reported to his primary care physician on December 11, 2009. Over the next six (6) months,
22   MECALL developed worsening symptoms including low back pain, bowel and bladder
23   incontinence, and impotence. He received physical therapy; had a number of radiological
24   studies; sought treatment at the Mayo Clinic in Arizona; and submitted to emergency surgery in
25   May 2010 due to a diagnosis of cauda equina syndrome.
26           30. Prior to the bike injury, MECALL had never been diagnosed with cauda equina
27   syndrome; suffered from bowel or bladder incontinence or impotence; or, as stated above, had
28   no restrictions, symptoms, or impairments from 1991 through December 1, 2009 related to his


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 1   lumbosacral disease.
 2
                                           CLAIMS HISTORY
 3
              MECALL APPEALS CANADA LIFE’S CESSATION OF DISABILITY
 4             PAYMENTS AND DETERMINATION THAT HIS DISABILITY IS
                          DUE TO SICKNESS VS. INJURY
 5
 6          31. On March 18, 2015, CANADA LIFE advised MECALL that payments under
 7   subject policy 1 and subject policy 2 would end on 10/8/15 and 8/8/15, the respective “expiry
 8   dates” of the subject policies and the “maximum benefit periods” for disabilities due to
 9   “Sickness.” (hereafter “notice of termination” letter).
10          32. CANADA LIFE’s notice of termination letter constituted the first time it had
11   conveyed to MECALL that his disability was due to SICKNESS.
12          33. In response to the notice of termination letter, MECALL, by and through counsel
13   Robert L. Fogel, Esq., contacted CANADA LIFE to assert that MECALL’s disability was due
14   to INJURY, not to sickness [and therefore benefits should not have been terminated]. Mr.
15   Fogel asked CANADA LIFE to review its “files, medical records, and physician reports” and
16   “contact [him] to discuss the error in calling his disabilities as due to ‘sickness.’” Letter dated
17   April 2, 2015 from Robert L. Fogel to Evelyn Ross, The Canada Life Insurance Company.
18          34. On or about August 6, 2015, after investigation, CANADA LIFE responded to Mr.
19   Fogel’s letter. It asserted that MECALL’s disability was not due to INJURY because “metal
20   toxicity” was a known side effect of his left hip replacement with a metal implant and further,
21   that MECALL had symptoms of cauda equina syndrome “long before” MECALL’s injury on
22   the stationary bicycle in December 2009. Letter dated August 6, 2015 from Linda Millar,
23   Canada Life Assurance Company to Robert Fogel, Esq.
24          35. On or about August 25, 2015, MECALL’s counsel responded to Millar’s letter,
25   asserting inter alia, 1) his medical records prior to December 2009 do not reveal any cauda
26   equina symptomatology; and 2) the new set of symptoms was due to an aggravation of
27   MECALL’s pre-existing (but asymptomatic) spondylosis on December 1, 2009 when he
28   suffered the bike injury. Letter dated August 25, 2015 from Robert Fogel, Esq. to Linda Millar,


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 1   Canada Life. Mr. Fogel urged CANADA LIFE to review the file and “promptly reconsider your
 2   decision to terminate benefits under the ‘sickness’ definition as it is plainly inappropriate under
 3   the facts and circumstances.” Id.
 4           36. On or about October 30, 2015, CANADA LIFE responded to Mr. Fogel’s August
 5   25, 2015 letter and continued to assert that “Dr. Mecall’s hip replacement and cauda equina
 6   syndrome conditions were payable under the Sickness Disability provision of his policies and
 7   not considered an accidental injury.” CANADA LIFE advised, nevertheless, that an internal
 8   appeal review panel comprised of “experienced individuals who were not involved in the day
 9   to day handling of MECALL’s claim” would be reviewing “his claims.” Letter dated October
10   30, 2015 from Linda Millar, Canada Life Assurance Company to Robert Fogel, Esq..
11           37. In a letter dated December 17, 2015, CANADA LIFE, by and through Denise
12   Ratliff, advised Mr. Fogel that the appeal panel “concluded their review [of the file] and
13   recommended the claim be submitted for an expert review by an individual who specializes in
14   Cauda Equina and hip conditions.” Letter dated December 17, 2015 from Denise Ratliff,
15   ALHC to Robert Fogel, Esq.
16           38. Despite the appeals panel’s recommendation, CANADA LIFE, by and through Ms.
17   Ratliff, ignored it and decided instead that such an expert review was not required and would
18   not be done. Id. at 2. Instead, Ms. Ratliff asserted:
19           It is evident from the medical records, doctor’s statements and medical reviews that Dr.
             Mecall’s underlying degenerative spinal condition is what caused his pain when he
20           dismounted from the stationary exercise bike.. . . [T] he “fall” you’ve described recently
             did not cause Dr. Mecall’s disabling condition. Dr. Mecall’s disability was caused, not
21           by an accidental bodily injury, but rather by a longstanding degenerative condition that
             ultimately caused compression of the spinal nerve roots resulting in incontinence and
22           disorder of the coccyx. Therefore, it is our determination that the disability claim that
             commenced on September 1, 2010 was appropriately classified a sickness.
23
24   Id. at 3. In the letter, Ms. Ratliff repeatedly referred to MECALL’s groin pain before the bike
25   injury as evidence that his lumbosacral disease was causing disabling symptoms (and not his
26   hip symptoms post-implant and bike injury) as further proof that his disability was not the
27   result of Injury. Id. at 2-3.
28           39. On January 19, 2016, Mr. Fogel responded to CANADA LIFE/Denise Ratliff’s


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 1   letter. Mr. Fogel reminded Ms. Ratliff that Canada Life’s own independent and unbiased
 2   appeals panel had recommended that the appropriate specialty be engaged to review
 3   MECALL’s medical file. He asserted that CANADA LIFE’s refusal to accept this
 4   recommendation and refer the file for expert review constituted bad faith claims handling. He
 5   further suggested that CANADA LIFE’s prior medical review with its medical consultant
 6   physiatrist was improper and could not be relied upon because the appropriate specialist had
 7   not been enlisted to provide medical advice on the question of sickness vs. accident. Letter
 8   dated January 19, 2016 from Robert Fogel, Esq. to Denise Ratliff, Canada Life Assurance
 9   Company at 1.
10          40. In the letter, Mr. Fogel further explained and distinguished in detail MECALL’s
11   relevant medical history related to his left hip symptoms and resulting disability (necrosis of
12   the left hip, a Sickness) from his subsequent disability related to the development of Cauda
13   Equina syndrome as a result of the bike injury, caused by the hip symptoms post-implant (an
14   Injury). He challenged Ms. Ratliff’s determination that MECALL suffered Cauda Equina
15   symptoms prior to the bike injury. He identified medical tests and examinations performed
16   which ruled out MECALL’s pre-existing lumbosacral disease as contributing to his hip
17   symptoms post-implant, prior to the bike injury. Finally, he asserted that the groin pain – to
18   which Ms. Ratliff repeatedly cited in her December 17, 2015 letter– was not the result of his
19   pre-existing lumbosacral disease or the development of Cauda Equina syndrome therefrom but
20   rather, was exclusively related to MECALL’s hip symptoms post-implant which led to the bike
21   injury and the development of Cauda Equina syndrome. Id. at 2-5. See supra, at para. 22
22   (describing new symptoms which started after placement of the defective ASR/XL hip device,
23   i.e. “hip symptoms post-implant”).
24          41. Mr. Fogel concluded his letter by urging CANADA LIFE to follow the
25   recommendation of the appeals panel and refer the file to the appropriate specialist. Id. at 6.
26          42. In response, CANADA LIFE, by and through Ms. Ratliff, stated in pertinent part:
27          Although it is important for us to understand the medical issues associated with Dr.
            Mecall’s condition, the medical records have already been reviewed by a board-certified
28          physiatrist. Therefore, it is my belief that additional medical review will only be
            duplicative of what we already have and will not assist us in considering Dr. Mecall’s

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 1          request.
 2          Your letter suggests that you still have questions about the disease process and we can
            certainly obtain a medical review from another specialist if that is important to you. . .
 3
 4   Letter dated February 19, 2016 from Denise Ratliff/Canada Life Assurance Company to Robert
 5   Fogel, Esq. In a letter to Mr. Fogel dated February 23, 2016, Ms. Ratliff memorialized an oral
 6   agreement (in a telephone call with Mr. Fogel on February 19, 2016) that CANADA LIFE
 7   would “proceed with a medical expert review” [ ] with “an Orthopedist who has medical
 8   knowledge of Cauda Equina Syndrome (CES) and hip disease.” Letter dated February 23,
 9   2016 from Denise Ratliff/Canada Life Assurance Company to Robert Fogel, Esq.
10          43. In a letter dated February 25, 2016 to Ms. Ratliff, Mr. Fogel memorialized the
11   subjects discussed in the February 19, 2016 phone call including his concerns that CANADA
12   LIFE was not engaged in a “legitimate appeals process”; that the prior medical consultant’s
13   specialty of “physiatry” was not an appropriate specialty for the medical questions at issue; and
14   that CANADA LIFE had ignored MECALL’s comments and assertions in Mr. Fogel’s January
15   19, 2016 letter “point[ing] out the various factual and legal errors” in CANADA LIFE’s
16   December 17, 2015 letter. Mr. Fogel also questioned “how Canada Life could be fulfilling its
17   legal obligations with respect to the claims and the appeal without even the minimal amount of
18   research on critical topics.” Letter dated February 25, 2016 from Robert Fogel, Esq. to Denise
19   Ratliff, Canada Life Assurance Company. Finally, in the letter, Mr. Fogel reserved hope that
20   the orthopedic medical expert would provide a sufficient medical foundation on which
21   CANADA LIFE would conclude that MECALL’s disability for which contractual benefits
22   were owed was the result of Injury, not Sickness, and promptly reinstate benefits. Id.
23          44. In a letter dated April 22, 2016, CANADA LIFE, by and through Ms. Ratliff,
24   reaffirmed its prior conclusion that MECALL’s disability was due to Sickness, not Injury, such
25   that disability benefits were no longer payable beyond the expiry dates in subject policy 1 and
26   subject policy 2. See Letter dated April 22, 2016 from Denise Ratliff to Robert Fogel, Esq. In
27   so doing, CANADA LIFE relied on the conclusions of a medical report by Robert Kalb, M.D.,
28   who conducted a “paper review” of MECALL’s medical records. Included in the letter was a


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 1   copy of Dr. Kalb’s report.
 2          45. On June 1, 2016, Mr. Fogel responded to Ms. Ratliff’s letter. Letter dated June 1,
 3   2016 from Robert Fogel, Esq. to Denise Ratliff, Canada Life Assurance Company. In the
 4   letter, he referred to a phone conversation with Ms. Ratliff “a week ago” in which they
 5   discussed the fact that CANADA LIFE had not provided Dr. Kalb with a complete set of
 6   MECALL’s medical records related to his hip condition; his pre-existing lumbosacral disease;
 7   and the onset of, and treatment for, his Cauda Equina syndrome. In the letter, Mr. Fogel also
 8   expressed dismay that CANADA LIFE had affirmed its decision based on a review of
 9   incomplete records and on a “miscomprehension of the medicine.” Upon agreement, as set
10   forth in the letter, CANADA LIFE agreed to have Dr. Kalb review the complete medical file.
11   Mr. Fogel agreed to send CANADA LIFE the complete set of records and also prepare
12   questions for Dr. Kalb’s review and response. Id. at 2.
13          46. On October 17, 2016, Mr. Fogel submitted to CANADA LIFE additional medical
14   records for Dr. Kalb’s review and questions for him to review and answer. Letter dated
15   October 17, 2016 from Robert Fogel, Esq. to Denise Ratliff, Canada Life Assurance Company
16   (enclosing medical records and questions for Robert Kalb, M.D.).
17          47. On November 29, 2016, Ms. Ratliff sent a letter acknowledging receipt of Mr.
18   Fogel’s June 1st and October 17th letters. Letter dated November 29, 2016 from Denise Ratliff
19   to Robert Fogel, Esq. In her letter, Ms. Ratliff disagreed with Mr. Fogel’s assertion there that
20   CANADA LIFE had not provided Dr. Kalb with a complete set of MECALL’s pertinent
21   medical records. Ms. Ratliff wrote in pertinent part:
22          . . . Dr. Kalb had the records he needed to review your client’s medical situation. It is
            true that Dr. Kalb mentioned the absence of certain historical records, but he did not
23          think they were “critical” or even necessary to the conclusions reached [in] his report. . .
                      The entire second paragraph of your letter of October 17, 2016 is contrary to my
24          recollection of our conversation. I did tell you that the medical records mentioned by
            Dr. Kalb were not intentionally omitted from our submission. We simply did not have
25          those records, as we did not know that Dr. Kalb would mention them. While those
            records were not in our file, I emphasized that Dr. Kalb was not hindered from
26          rendering an opinion or answering our questions by their absence.
                      I emphatically disagree with your declaration that I suggest those records were
27          essential to a complete, independent and fair review of your client’s case because I do
            not believe they are essential to a complete and fair review. Nor do I agree that Canada
28          Life’s termination of your client’s benefits is in any way dependent upon Dr. Kalb’s
            ability to review the entirety of your client’s historical medical records.

                                                    10
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 1   Id. at 1-2. In closing, Ms. Ratliff and CANADA LIFE agreed to submit the additional records
 2   and Mr. Fogel’s questions for Dr. Kalb’s review.
 3           48. In a response letter dated December 2, 2016, challenging Ratliff’s characterization
 4   of the importance of the missing records, Mr. Fogel noted several instances in Dr. Kalb’s peer
 5   review report (on which CANADA LIFE had relied to uphold its decision to terminate benefits
 6   due to sickness) in which he referenced the absence of pertinent medical records which, Fogel
 7   argued, prevented Dr. Kalb from providing an independent and accurate medical records
 8   review and opinion on the issue of sickness vs. injury. Letter dated December 2, 2016 from
 9   Robert Fogel, Esq. to Denise Ratliff, Canada Life Assurance Company. Mr. Fogel wrote in
10   pertinent part:
11                  It is incomprehensible how you can suggest that Dr. Kalb didn’t think the
             missing records were “critical” to his independent and complete review. Firstly, he
12           never said that in his report. To the contrary, he repeatedly stated how useful the records
             would have been, and I think it’s indisputable that any answers to your questions were
13           based upon incomplete records.
14   Id. at 2.
15           49. In the letter, Mr. Fogel also expressed dismay that CANADA LIFE terminated
16   benefits and denied MECALL’s appeal without an informed medical opinion based on a
17   complete review of the complete medical records. He averred:
18           My concern was not only related to the failure by Canada Life to provide Dr. Kalb with
             the complete records so he could perform an independent review, but how it was that
19           Canada Life determined to terminate Dr. Mecall’s disability payments without the
             benefit of reviewing complete medical records. I suggested that the decision was made
20           arbitrarily and in bad faith insofar as you admitted that the decision was made without
             the benefit of the complete medical records. . .
21
22   Id. at 3. Mr. Fogel went on to reiterate MECALL’s position that the reason for his disability
23   was “INJURY”, not “SICKNESS.” Id. In conclusion, Mr. Fogel stated he awaited
24   “confirmation that you have submitted the records and questions to Dr. Kalb as promised, and
25   the resulting report with his answers to the questions.” Id. at 4.
26           50. On February 3, 2017, CANADA LIFE, relying on Dr. Kalb’s paper review report,
27   upheld its decision to terminate MECALL’s disability benefits, concluding that his disability
28   was due to “SICKNESS”, not “INJURY.” Letter dated February 3, 2017 from Denise Ratliff to


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 1   Robert Fogel, Esq. Ms. Ratliff explained:
 2           Dr. Kalb’s opinions did not change after reviewing the additional medical records you
             supplied regarding the onset of the cauda equina, the surgical intervention, and the
 3           follow-up records from the orthopedic surgeon. . . .
 4   Id. at 4-5 (attributing disability to pre-existing degenerative disc disease and spinal stenosis ---
 5   a sickness – “symptoms separate from his left hip complications”). Ms. Ratliff concluded her
 6   letter affirming CANADA LIFE’s termination of benefits due to SICKNESS by summarizing
 7   its position:
 8           . . . Dr. Mecall’s disability was caused, not by an accidental bodily injury, but rather by
             a longstanding degenerative condition and disorder of the coccyx that ultimately caused
 9           compression of the spinal nerve roots resulting in cauda equina. Therefore, it is our
             opinion that Dr. Mecall’s disability is appropriately classified as a SICKNESS.
10
11   Id. at 5 (citing “the medical records, the attending physicians’ statements, the independent
12   reviews by the board-certified orthopedist and by MECALL’s “own statements” in support of
13   CANADA LIFE’s decision).
14                                     FIRST CAUSE OF ACTION
15                            (Breach of Contract against CANADA LIFE)
16           51. Plaintiff adopts and incorporates by reference Paragraphs 1 - 50.
17           52. As a result of the termination of MECALL’s disability benefits and its refusal to
18   reinstate benefits beyond the expiry dates under the subject policies, Defendant CANADA
19   LIFE breached its contracts of insurance with its insured.
20           53. As a result of Defendant’s breach, Plaintiff has incurred special damages in
21   excess of $10,000.00, including benefits withheld for the time period beginning October 8,
22   2015 under subject policy 1 and for the time period beginning August 8, 2015 under subject
23   policy 2 through the present and continuing, and interest thereon.
24           54. As a further proximate result of the aforementioned conduct of Defendant,
25   Plaintiff has suffered anxiety, worry, mental and emotional distress, all to Plaintiff’s general
26   damages in the sum in excess of $10,000.00.
27           55. As a further result of Defendant’s breach, Plaintiff has been forced to retain
28   the services of an attorney and is therefore entitled to reasonable attorney’s fees and costs.


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 1                                   SECOND CAUSE OF ACTION
 2           (Breach of the Covenant of Good Faith And Fair Dealing and Contractual
                                Bad Faith against CANADA LIFE)
 3
 4          56. Plaintiff adopts and incorporates by reference Paragraphs 1 - 55.
 5          57. Defendant knew or should have known that it did not have a reasonable basis to
 6   terminate benefits under the subject policies at the expiry dates.
 7          58. Defendant knew or should have known that it did not have a reasonable basis to
 8   continue to deny benefits after the expiry dates, after MECALL provided medical and legal
 9   documentation which explained why benefits should continue to be paid to him due to total
10   disability as a result of INJURY.
11          59. Defendant knowingly failed to adequately, objectively, and fairly investigate
12   MECALL’s contention that he was entitled to ongoing disability benefits beyond the expiry
13   dates of the subject policies due to total disability as a result of INJURY.
14          60. CANADA LIFE did not provide a full and fair review of its decision to terminate
15   benefits under the subject policies. MECALL, by and through counsel, had to insist that Ms.
16   Ratliff follow through on the recommendation of the appeals panel to have the appropriate
17   specialist review the medical documentation. Although Ratliff relented and referred the file to
18   an orthopedic doctor, Ratliff’s initial refusal to obtain an independent and fair opinion tainted
19   the entire claims review process such that the referral to Dr. Kalb was not made in good faith.
20   CANADA LIFE ratified Ratliff’s conduct by approving the ongoing categorization of
21   MECALL’s claim as “SICKNESS”, not “INJURY” and the consequent ongoing cessation of
22   payments.
23          61. MECALL, by and through counsel, had repeatedly provided CANADA LIFE with
24   both medical and legal reasons to pay the claim and re-categorize the claim as “INJURY.”
25          62. Despite MECALL’s proof of claim and proof of ongoing disability, CANADA
26   LIFE stubbornly refused to pay the claim. By its failure to pay MECALL at any time after
27   October 8, 2015 under subject policy 1 and after August 8, 2015 under subject policy 2,
28   through the present, Defendant has breached the implied duty of good faith and fair dealing


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 1   owed to Plaintiff under the subject policies and under common law.
 2          63. MECALL is informed and believes and thereon alleges that Defendant intends to
 3   and will continue to deny and withhold benefits in bad faith due Plaintiff unless compelled to
 4   pay such benefits by a final judgment of this court.
 5          64. As a result of the Defendant’s breach, Plaintiff has incurred special damages in
 6   excess of $10,000.00, including benefits withheld Plaintiff for the time period beginning
 7   October 8, 2015 under subject policy 1 and for the time period beginning August 8, 2015 under
 8   subject policy 2 through the present and continuing, and interest thereon.
 9          65. As a further proximate result of the aforementioned conduct of Defendant,
10   Plaintiff has suffered anxiety, worry, mental and emotional distress, all to Plaintiff’s general
11   damages in the sum in excess of $10,000.00.
12          66. Defendant intended its conduct, as described herein, to cause injury to the
13   Plaintiff, or Defendant carried on with such conduct in conscious disregard for the rights of the
14   Plaintiff, as to subject the Plaintiff to cruel and unjust hardship, such as to constitute malice,
15   oppression, or fraud under NRS §42.005, thereby entitling Plaintiff to punitive damages in an
16   amount in excess of $10,000.00.
17          67. As a further result of Defendant’s breach, Plaintiffs have been forced to retain
18   the services of an attorney and are therefore entitled to reasonable attorney’s fees and costs.
19                                    THIRD CAUSE OF ACTION
20     (Violation by CANADA LIFE of the Nevada Unfair Trade Practices Act (“NUTPA”))
21          68. Plaintiff adopts and incorporates by reference Paragraphs 1 - 67.
22          69. Defendant engaged in unfair trade practices in violation of NUTPA by failing to
23   adopt and implement reasonable standards for the fair and objective investigation of
24   MECALL’s contentions that he was entitled to ongoing payment of disability benefits beyond
25   the expiry dates of the subject policies because he remained disabled as a result of INJURY.
26   NRS 686A.310 (c).
27          70. Defendant engaged in unfair trade practices in violation of NUTPA by failing to
28   pay benefits when its liability under the subject policies was reasonably clear. NRS


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 1   686A.310(e).
 2          71. Defendant engaged in unfair trade practices in violation of NUTPA by failing to
 3   provide promptly to MECALL a reasonable explanation of the basis in the subject policies,
 4   with respect to the facts of his claims and the applicable law, for termination of the subject
 5   claims after the respective expiry dates of subject policy 1 and subject policy 2, or for an offer
 6   to settle or compromise the subject claims. NRS 686A.310(n).
 7          72. Defendant knew or should have known that it did not have a reasonable basis to
 8   deny benefits.
 9          73. Plaintiff is informed and believes that Defendants intend to and will continue to
10   deny and withhold benefits due Plaintiff in violation of NUTPA unless compelled to pay him
11   benefits by a final judgment of this Court.
12          74. As a result of the Defendant’s unfair practices, Plaintiff has incurred special
13   damages in excess of $10,000.00, including benefits withheld for the time period beginning
14   October 8, 2015 under subject policy 1 and for the time period beginning August 8, 2015 under
15   subject policy 2 through the present and continuing, and interest thereon.
16          75. As a further proximate result of the aforementioned conduct of Defendant,
17   Plaintiff has suffered anxiety, worry, mental and emotional distress, all to Plaintiff’s general
18   damages in the sum in excess of $10,000.00.
19          76. Defendant intended its conduct, as described herein, to cause injury to the
20   Plaintiff, or Defendant carried on with such conduct in conscious disregard for the rights of the
21   Plaintiff, as to subject the Plaintiff to cruel and unjust hardship, such as to constitute malice,
22   oppression, or fraud under NRS §42.005, thereby entitling Plaintiff to punitive damages in an
23   amount in excess of $10,000.00.
24          77. As a further result of Defendant’s unfair practices, Plaintiff has been forced to
25   retain the services of an attorney and is entitled to reasonable attorney’s fees and costs.
26          WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
27          1. For an award of past due benefits with statutory interest thereon and reinstatement of
28   benefits;


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 1          2. For an award of all future benefits due under the subject policies as a consequence of
 2   Defendant’s bad faith;
 3          3. For an award of damages for the physical injury and mental and emotional distress
 4   that MECALL has suffered as a consequence of Defendant’s bad faith claims handling
 5   practices and termination of benefits;
 6          4. For punitive damages in an amount sufficient to punish Defendant and to deter
 7   Defendant and others from engaging in similar bad faith conduct in the future;
 8          5. For reasonable attorney’s fees and costs of suit incurred, pursuant to NRS
 9   689A.410(5) and/or Brandt v. Superior Court, 37 Cal.3d 813, 693 P.2d 796 (1985) or similar
10   law; and
11          6. For prejudgment and post-judgment interest; and
12          7. For such other and further relief as this Court finds just and proper.
13          DATED this 11th day of April, 2018.
14                                            LAW OFFICE OF JULIE A. MERSCH
15
16                                            By:    /s/ Julie A. Mersch
                                                     JULIE A. MERSCH, ESQ.
17                                                   Nevada Bar No. 004695
                                                     701 South 7th Street
18                                                   Las Vegas, Nevada 89101
                                                     Attorney for Plaintiff Richard Mecall, DDS
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